                Case 23-53941-lrc                 Doc 1     Filed 04/27/23 Entered 04/27/23 16:32:53                             Desc Main
                                                            Document      Page 1 of 27                                                           4/27/23 4:31PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Frazier Stone Jewelry, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  2030 Cumberland Parkway                                        2451 Cumberland Parkway, Suite 3818
                                  Atlanta, GA 30339                                              Atlanta, GA 30339
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Cobb                                                           Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 1
                 Case 23-53941-lrc               Doc 1          Filed 04/27/23 Entered 04/27/23 16:32:53                                Desc Main
                                                                Document      Page 2 of 27                                                          4/27/23 4:31PM

Debtor    Frazier Stone Jewelry, LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                      Chapter 7
     A debtor who is a “small            Chapter 9
     business debtor” must check         Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is                               operations, cash-flow statement, and federal income tax return or if any of these documents do
     a “small business debtor”)                                  not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                 Case number
                                                District                                  When                                 Case number




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                 Case 23-53941-lrc                     Doc 1        Filed 04/27/23 Entered 04/27/23 16:32:53                                Desc Main
                                                                    Document      Page 3 of 27                                                                  4/27/23 4:31PM

Debtor    Frazier Stone Jewelry, LLC                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                           Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                   Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                   Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                25,001-50,000
    creditors                                                                               5001-10,000                                50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                        page 3
                Case 23-53941-lrc        Doc 1        Filed 04/27/23 Entered 04/27/23 16:32:53                       Desc Main
                                                      Document      Page 4 of 27                                                     4/27/23 4:31PM

Debtor   Frazier Stone Jewelry, LLC                                                     Case number (if known)
         Name


                              $50,001 - $100,000                           $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                              $100,001 - $500,000                          $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                              $500,001 - $1 million                        $100,000,001 - $500 million           More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                Case 23-53941-lrc              Doc 1        Filed 04/27/23 Entered 04/27/23 16:32:53                               Desc Main
                                                            Document      Page 5 of 27                                                              4/27/23 4:31PM

Debtor   Frazier Stone Jewelry, LLC                                                               Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 27, 2023
                                                  MM / DD / YYYY


                             X   /s/ Natalie Frazier Jackson                                             Natalie Frazier Jackson
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Managing Member and Sole Member




18. Signature of attorney    X   /s/ Daniel E. Raskin                                                     Date April 27, 2023
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Daniel E. Raskin 594950
                                 Printed name

                                 Daniel E. Raskin
                                 Firm name

                                 325 Hammond Drive
                                 Suite 114
                                 Atlanta, GA 30328
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     404-255-8878                  Email address      Draskin@raskin-law.com

                                 594950 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 5
           Case 23-53941-lrc                Doc 1        Filed 04/27/23 Entered 04/27/23 16:32:53                            Desc Main
                                                         Document      Page 6 of 27                                                           4/27/23 4:31PM




Fill in this information to identify the case:

Debtor name         Frazier Stone Jewelry, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 27, 2023                  X /s/ Natalie Frazier Jackson
                                                           Signature of individual signing on behalf of debtor

                                                           Natalie Frazier Jackson
                                                           Printed name

                                                           Managing Member and Sole Member
                                                           Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
               Case 23-53941-lrc                              Doc 1              Filed 04/27/23 Entered 04/27/23 16:32:53                                                          Desc Main
                                                                                 Document      Page 7 of 27                                                                                           4/27/23 4:31PM


 Fill in this information to identify the case:

 Debtor name            Frazier Stone Jewelry, LLC

 United States Bankruptcy Court for the:                     NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                500.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                500.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            62,000.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $              62,000.00




 Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
           Case 23-53941-lrc               Doc 1       Filed 04/27/23 Entered 04/27/23 16:32:53                        Desc Main
                                                       Document      Page 8 of 27                                                     4/27/23 4:31PM


Fill in this information to identify the case:

Debtor name      Frazier Stone Jewelry, LLC

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                       Check if this is an
                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                        debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.

Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                            page 1
           Case 23-53941-lrc                 Doc 1      Filed 04/27/23 Entered 04/27/23 16:32:53                       Desc Main
                                                        Document      Page 9 of 27                                                  4/27/23 4:31PM



Debtor       Frazier Stone Jewelry, LLC                                                Case number (If known)
             Name


      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used    Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value        debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    none                                                             $0.00                                                  $0.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)

51.       Total of Part 8.                                                                                                           $0.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used   Current value of
          property                              extent of            debtor's interest         for current value       debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                        page 2
            Case 23-53941-lrc               Doc 1       Filed 04/27/23 Entered 04/27/23 16:32:53                   Desc Main
                                                        Document     Page 10 of 27                                         4/27/23 4:31PM



Debtor        Frazier Stone Jewelry, LLC                                                  Case number (If known)
              Name

           55.1.
                    none                                                                $0.00                                    $0.00


           55.2.    Remaining inventory
                    of Beads used in
                    Jewelry business             owned                               $500.00       Liquidation                 $500.00




56.        Total of Part 9.                                                                                                $500.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                            page 3
             Case 23-53941-lrc                        Doc 1           Filed 04/27/23 Entered 04/27/23 16:32:53                                          Desc Main
                                                                      Document     Page 11 of 27                                                                          4/27/23 4:31PM



Debtor          Frazier Stone Jewelry, LLC                                                                        Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                           Current value of                       Current value of real
                                                                                                 personal property                      property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                  $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                       $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                           $0.00

83. Investments. Copy line 17, Part 4.                                                                                   $0.00

84. Inventory. Copy line 23, Part 5.                                                                                     $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                            $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                            $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $500.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                        $0.00

90. All other assets. Copy line 78, Part 11.                                                 +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                    $0.00         + 91b.                      $500.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                       $500.00




Official Form 206A/B                                            Schedule A/B Assets - Real and Personal Property                                                              page 4
            Case 23-53941-lrc                 Doc 1       Filed 04/27/23 Entered 04/27/23 16:32:53                            Desc Main
                                                          Document     Page 12 of 27                                                          4/27/23 4:31PM


Fill in this information to identify the case:

Debtor name       Frazier Stone Jewelry, LLC

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                          page 1 of 1
             Case 23-53941-lrc                    Doc 1        Filed 04/27/23 Entered 04/27/23 16:32:53                                            Desc Main
                                                               Document     Page 13 of 27                                                                          4/27/23 4:31PM


Fill in this information to identify the case:

Debtor name         Frazier Stone Jewelry, LLC

United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $30,000.00
          Epicity Real Estate                                                    Contingent
          430 Plaster Ave. NE                                                    Unliquidated
          Suite 100                                                              Disputed
          Atlanta, GA 30324
                                                                             Basis for the claim:    Consent Judgment to pay rent for the balance of the
          Date(s) debt was incurred  2/14/23                                 lease term
          Last 4 digits of account number Office Rent-
                                                                             Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $9,000.00
          Itriaventures                                                          Contingent
          1 Penn Plaza                                                           Unliquidated
          Suite 3101                                                             Disputed
          New York, NY 10119
                                                                             Basis for the claim:    Business Credit
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?       No     Yes


3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $23,000.00
          Ondeck Capital                                                         Contingent
          1400 Broadway, 25th Floor                                              Unliquidated
          New York, NY 10018                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                    On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 1 of 2
                                                                                                           51275
             Case 23-53941-lrc       Doc 1   Filed 04/27/23 Entered 04/27/23 16:32:53                                 Desc Main
                                             Document     Page 14 of 27                                                       4/27/23 4:31PM


Debtor      Frazier Stone Jewelry, LLC                                       Case number (if known)
            Name

                                                                                             Total of claim amounts
5a. Total claims from Part 1                                                   5a.       $                          0.00
5b. Total claims from Part 2                                                   5b.   +   $                     62,000.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                        5c.       $                        62,000.00




Official Form 206 E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 2 of 2
           Case 23-53941-lrc                Doc 1       Filed 04/27/23 Entered 04/27/23 16:32:53                                Desc Main
                                                        Document     Page 15 of 27                                                               4/27/23 4:31PM


Fill in this information to identify the case:

Debtor name      Frazier Stone Jewelry, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal         Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Consent Judgment on
           lease is for and the nature of        Lease contract for 2030
           the debtor's interest                 Powers Ferry Rd., Suite
                                                 3818, Dated February
                                                 14, 2023 (Magistrate
                                                 Court Case No.
                                                 23E00189) Note:
                                                 Debtor no longer
                                                 occupies the property.
               State the term remaining          60 months                         Epicity Real Estate
                                                                                   430 Plaster Ave. NE
           List the contract number of any                                         Suite 100
                 government contract                                               Atlanta, GA 30324




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
          Case 23-53941-lrc               Doc 1       Filed 04/27/23 Entered 04/27/23 16:32:53                              Desc Main
                                                      Document     Page 16 of 27                                                              4/27/23 4:31PM


Fill in this information to identify the case:

Debtor name      Frazier Stone Jewelry, LLC

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                             Check if this is an
                                                                                                                             amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                       Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Natalie Frazier             2451 Cumberland Parkway                                  Epicity Real Estate                D
          Jackson                     Atlanta, GA 30339                                                                           E/F
                                      Co-debtor has already filed Chapter 7                                                       G
                                      bankruptcy on all debts for which she was
                                      a
                                      guarantor




   2.2    Natalie Frazier             2451 Cumberland Parkway,                                 Itriaventures                      D
          Jackson                     Suite 3818                                                                                  E/F
                                      Atlanta, GA 30339                                                                           G
                                      Co-debtor has already filed Chapter 7
                                      bankruptcy on all debts for which she was
                                      a
                                      guarantor




   2.3    Natalie Frazier             2451 Cumberland Parkway                                  Ondeck Capital                     D
          Jackson                     Suite 3818                                                                                  E/F
                                      Atlanta, GA 30339                                                                           G
                                      Co-debtor has already filed Chapter 7
                                      bankruptcy on all debts for which she was
                                      a
                                      guarantor




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
             Case 23-53941-lrc             Doc 1       Filed 04/27/23 Entered 04/27/23 16:32:53                                 Desc Main
                                                       Document     Page 17 of 27                                                                4/27/23 4:31PM




Fill in this information to identify the case:

Debtor name         Frazier Stone Jewelry, LLC

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:      Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                $13,021.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $150,000.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $336,000.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
   lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed

Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
             Case 23-53941-lrc               Doc 1       Filed 04/27/23 Entered 04/27/23 16:32:53                                    Desc Main
                                                         Document     Page 18 of 27                                                                  4/27/23 4:31PM

Debtor       Frazier Stone Jewelry, LLC                                                           Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                    Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                         Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                          Date action was                Amount
                                                                                                                        taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case               Court or agency's name and                 Status of case
              Case number                                                           address
      7.1.    Powers Ferry Business Park,              Suit on rental               Magistrate Court Cobb                         Pending
              LLC vs. Frazier Stone                    contract                     County                                        On appeal
              Jewelry, LLC                                                          Marietta, GA
                                                                                                                                  Concluded
              23E00189

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of
   a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                   Dates given                            Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
              Case 23-53941-lrc              Doc 1        Filed 04/27/23 Entered 04/27/23 16:32:53                                 Desc Main
                                                          Document     Page 19 of 27                                                              4/27/23 4:31PM

Debtor        Frazier Stone Jewelry, LLC                                                           Case number (if known)



      Description of the property lost and              Amount of payments received for the loss                   Dates of loss         Value of property
      how the loss occurred                                                                                                                           lost
                                                        If you have received payments to cover the loss, for
                                                        example, from insurance, government compensation, or
                                                        tort liability, list the total received.

                                                        List unpaid claims on Official Form 106A/B (Schedule
                                                        A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received              If not money, describe any property transferred               Dates              Total amount or
                the transfer?                                                                                                                       value
                Address
      11.1.     Daniel E. Raskin
                325 Hammond Drive
                Suite 114
                Atlanta, GA 30328                         Attorney Fees                                                 3/24/23                  $1,262.00

                Email or website address
                Draskin@raskin-law.com

                Who made the payment, if not debtor?
                Natalie Jackson Frazier



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                     Dates transfers            Total amount or
                                                                                                                were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                   Description of property transferred or                     Date transfer           Total amount or
               Address                                  payments received or debts paid in exchange                was made                         value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
              Case 23-53941-lrc              Doc 1        Filed 04/27/23 Entered 04/27/23 16:32:53                                  Desc Main
                                                          Document     Page 20 of 27                                                                4/27/23 4:31PM

Debtor        Frazier Stone Jewelry, LLC                                                          Case number (if known)



    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                        the debtor provides                                                        and housing, number of
                                                                                                                                   patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension
    or profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or           Date account was                Last balance
              Address                                   account number             instrument                   closed, sold,               before closing or
                                                                                                                moved, or                            transfer
                                                                                                                transferred
      18.1.     Wells Fargo National Bank               XXXX-2810                     Checking                  2/18/2023                           Unknown
                2180 Windy Hill Rd.                                                   Savings
                Atlanta, GA
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                Does debtor
                                                             access to it                                                                     still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                Does debtor
                                                             access to it                                                                     still have it?

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4
             Case 23-53941-lrc              Doc 1        Filed 04/27/23 Entered 04/27/23 16:32:53                                     Desc Main
                                                         Document     Page 21 of 27                                                                     4/27/23 4:31PM

Debtor      Frazier Stone Jewelry, LLC                                                           Case number (if known)




Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                 Environmental law, if known              Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                 Environmental law, if known              Date of notice
                                                            address

Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 5
             Case 23-53941-lrc               Doc 1       Filed 04/27/23 Entered 04/27/23 16:32:53                                 Desc Main
                                                         Document     Page 22 of 27                                                               4/27/23 4:31PM

Debtor      Frazier Stone Jewelry, LLC                                                            Case number (if known)



      Name and address                                                                                                             Date of service
                                                                                                                                   From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                                If any books of account and records are
                                                                                                      unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

              Name of the person who supervised the taking of the                     Date of inventory        The dollar amount and basis (cost, market,
              inventory                                                                                        or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                               Position and nature of any              % of interest, if
                                                                                                   interest                                any
      Natalie Jackson Frazier                                                                      Sole member of LLC                      100




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

              Name and address of recipient            Amount of money or description and value of                 Dates              Reason for
                                                       property                                                                       providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 6
             Case 23-53941-lrc              Doc 1         Filed 04/27/23 Entered 04/27/23 16:32:53                             Desc Main
                                                          Document     Page 23 of 27                                                          4/27/23 4:31PM

Debtor      Frazier Stone Jewelry, LLC                                                           Case number (if known)



   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:     Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
     true and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 27, 2023

/s/ Natalie Frazier Jackson                                     Natalie Frazier Jackson
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Managing Member and Sole Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
              Case 23-53941-lrc               Doc 1        Filed 04/27/23 Entered 04/27/23 16:32:53                               Desc Main
                                                           Document     Page 24 of 27                                                           4/27/23 4:31PM

B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Northern District of Georgia
 In re       Frazier Stone Jewelry, LLC                                                                       Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,262.00
             Prior to the filing of this statement I have received                                        $                        0.00
             Balance Due                                                                                  $                     1,262.00

2.    $     338.00      of the filing fee has been paid.

3.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

4.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
      e.    [Other provisions as needed]


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     April 27, 2023                                                           /s/ Daniel E. Raskin
     Date                                                                     Daniel E. Raskin 594950
                                                                              Signature of Attorney
                                                                              Daniel E. Raskin
                                                                              325 Hammond Drive
                                                                              Suite 114
                                                                              Atlanta, GA 30328
                                                                              404-255-8878 Fax: 404-255-8845
                                                                              Draskin@raskin-law.com
                                                                              Name of law firm
          Case 23-53941-lrc            Doc 1     Filed 04/27/23 Entered 04/27/23 16:32:53                    Desc Main
                                                 Document     Page 25 of 27                                                4/27/23 4:31PM




                                              United States Bankruptcy Court
                                                    Northern District of Georgia
 In re   Frazier Stone Jewelry, LLC                                                         Case No.
                                                                  Debtor(s)                 Chapter      7




                                  VERIFICATION OF CREDITOR MATRIX


I, the Managing Member and Sole Member of the corporation named as the debtor in this case, hereby verify that the attached list of

creditors is true and correct to the best of my knowledge.




Date:    April 27, 2023                                /s/ Natalie Frazier Jackson
                                                       Natalie Frazier Jackson/Managing Member and Sole Member
                                                       Signer/Title
    Case 23-53941-lrc   Doc 1   Filed 04/27/23 Entered 04/27/23 16:32:53   Desc Main
                                Document     Page 26 of 27


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                         Epicity Real Estate
                         430 Plaster Ave. NE
                         Suite 100
                         Atlanta, GA 30324



                         Itriaventures
                         1 Penn Plaza
                         Suite 3101
                         New York, NY 10119



                         Natalie Frazier Jackson
                         2451 Cumberland Parkway
                         Atlanta, GA 30339



                         Natalie Frazier Jackson
                         2451 Cumberland Parkway,
                         Suite 3818
                         Atlanta, GA 30339



                         Natalie Frazier Jackson
                         2451 Cumberland Parkway
                         Suite 3818
                         Atlanta, GA 30339



                         Ondeck Capital
                         1400 Broadway, 25th Floor
                         New York, NY 10018
         Case 23-53941-lrc            Doc 1   Filed 04/27/23 Entered 04/27/23 16:32:53                  Desc Main
                                              Document     Page 27 of 27                                             4/27/23 4:31PM




                                          United States Bankruptcy Court
                                                Northern District of Georgia
 In re   Frazier Stone Jewelry, LLC                                                     Case No.
                                                              Debtor(s)                 Chapter    7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification
or recusal, the undersigned counsel for Frazier Stone Jewelry, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




April 27, 2023                                   /s/ Daniel E. Raskin
Date                                             Daniel E. Raskin 594950
                                                 Signature of Attorney or Litigant
                                                 Counsel for Frazier Stone Jewelry, LLC
                                                 Daniel E. Raskin
                                                 325 Hammond Drive
                                                 Suite 114
                                                 Atlanta, GA 30328
                                                 404-255-8878 Fax:404-255-8845
                                                 Draskin@raskin-law.com
